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 8                             UNITED STATES BANKRUPTCY COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
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11   In re                                             Case No. 18-52601-MEH-13

12   MICHAEL HAROUTUN MIROYAN,                         Chapter 13
13                         Debtor.                     RS No. RF-1
14                                                     EX PARTE MOTION TO REOPEN
                                                       BANKRUPTCY CASE AND SET HEARING
15                                                     ON MOTION FOR RELIEF FROM STAY
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             COMES NOW Gang “Patrick” Chen, Secured Creditor herein, moving for entry of an order
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     reopening the within bankruptcy case and setting a hearing on the Motion for Relief from the
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     Automatic Stay filed by Mr. Chen on June 13, 2019 (RS No. RF-1) (Docket No. 90) (the “Motion
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     for Relief from Stay”), pursuant to Bankruptcy Code §§ 105(a), 350(b) and 362(d)(1), (2) and (4)
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     and Rule 5010 of the Federal Rules of Bankruptcy Procedure, and respectfully represents as follows:
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                                                   FACTS
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             1.     Michael Haroutun Miroyan, Debtor herein, is the sole member of Hawaiian
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     Riverbend, LLC, a Hawaii limited liability company (“Hawaiian Riverbend”).
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             2.     On August 9, 2018, the Debtor caused Hawaiian Riverbed to transfer to himself the
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     company’s chief asset, being certain real property including the property located at 62-2280
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     Kanehoa Street in Kamuela, Hawaii (the “Collateral”). See Exhibit “E” to the Motion for Relief
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     from Stay (Docket No. 90-3).
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       MOTION FOR RELIEF FROM STAY
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 1          3.      The within case was commenced by Michael Haroutun Miroyan, Debtor herein, filing

 2   a voluntary petition for relief under chapter 13 of the Bankruptcy Code on November 26, 2018.

 3   Devin Durham-Burk was the duly qualified and appointed Chapter 13 Trustee.

 4          4.      Secured Creditor Chen filed his Motion for Relief from Stay with respect to the

 5   Collateral on June 13, 2019, and set it for hearing on July 19, 2019. The Motion requests in rem

 6   relief pursuant to Bankruptcy Code § 362(d)(4), among other relief.

 7          5.      Prior to the hearing, the within case was dismissed pursuant to the Court’s Order of

 8   Dismissal entered on June 25, 2019 (Docket No. 93). Accordingly, the Motion for Relief from Stay

 9   went off calendar.

10          6.      Lately, on April 11, 2022, the Debtor filed his Motion for Violating the Automatic

11   Stay (Docket No. 104). The Debtor filed a Notice (Docket No. 106), but he did not set a hearing.

12          7.      The Debtor is a serial bankruptcy filer. The Debtor has filed at least two cases with

13   this Court in his own name (this case and Case No. 19-52547-SLJ-13), both of which were

14   involuntarily dismissed, and a third case as In re Hawaiian Riverbend, LLC, Case No. 22-50314-

15   SLJ-11, all without filing the notice of related cases required under Bankruptcy Local Rule 1015-1.

16          8.      The Debtor is a vexatious litigant. For example, on June 21, 2019, the Debtor

17   brought an action in the U.S. District Court for the Northern District of California against Judge

18   Robert Kim, in bad faith, for making adverse rulings in certain litigation pending in Hawaii (Case

19   No. 19-03626-NC). A copy of the underlying complaint is attached as Exhibit “5” to the letter that

20   the Debtor filed in the within case as Docket No. 105), along with improper and threatening

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 1   correspondence to the judge, as follows:

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18   The action was dismissed with prejudice by order entered on November 5, 2019, a copy of which is

19   attached hereto as Exhibit “A” and is incorporated herein by reference.

20          9.      In light of the foregoing, it is highly likely that the Debtor will continue to abuse the

21   courts and harass the parties unless broader relief is ordered. Accordingly, Secured Creditor Chen

22   proposes to proceed with his Motion for Relief from Stay, which requests in rem relief. Mr. Chen is

23   also considering bring a motion to deem the Debtor to be a vexatious litigants pursuant to 28 U.S.C.

24   § 1651(a), Bankruptcy Code § 105(a) and the Court’s inherent power.

25                                               AUTHORITY

26          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157.

27   Bankruptcy Code § 350(b) provides that: “A case may be reopened in the court in which such case

28   was closed to administer assets, to accord relief to the debtor, or for other cause.” Rule 5010 of the
       EX PARTE MOTION TO REOPEN BANKRUPTCY CASE AND SET HEARING ON
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 1   Federal Rules of Bankruptcy Procedure provides that:

 2          A case may be reopened on motion of the debtor or other party in interest pursuant to
 3          §350(b) of the Code. In a chapter 7, 12, or 13 case a trustee shall not be appointed by the
            United States trustee unless the court determines that a trustee is necessary to protect the
 4          interests of creditors and the debtor or to insure efficient administration of the case.

 5   Bankruptcy Code § 105(a) provides that: “The court may issue any order, process, or judgment that

 6   is necessary or appropriate to carry out the provisions of” the Bankruptcy Code. In addition, the

 7   Court has the inherent power to manage its own docket.

 8                                         PRAYER FOR RELIEF

 9          WHEREFORE, Secured Creditor Chen prays for entry of an order:

10          1.      Reopening the within bankruptcy case;

11          2.      Setting a hearing on the Motion for Relief from Stay for June 15, 2022, at 2:30 pm, or

12   at the Court’s convenience;

13          3.      Providing that any supplemental briefs, declarations and evidence in support of the

14   Motion shall be filed at least fourteen (14) calendar days prior to the hearing;

15          4.      Providing that Secured Creditor Chen shall give notice of the hearing at least fourteen

16   (14) calendar days prior to the hearing; and

17          5.      For such other and further relief as is appropriate in the premises.

18   DATED: May 18, 2022                                   /s/ Reno F.R. Fernandez III
                                                               Reno F.R. Fernandez III
19                                                             Attorney for Secured Creditor,
20                                                             Gang “Patrick” Chen

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